       Case 4:22-md-03047-YGR Document 409 Filed 11/06/23 Page 1 of 2
           Case MDL No. 3047 Document 306 Filed 11/06/23 Page 1 of 2

                                                                                              FILED
                                   UNITED STATES JUDICIAL PANEL                                 Nov 06 2023
                                                on                                             Mark B. Busby
                                    MULTIDISTRICT LITIGATION                             CLERK, U.S. DISTRICT COURT
                                                                                      NORTHERN DISTRICT OF CALIFORNIA
                                                                                                  OAKLAND

IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY PRODUCTS
LIABILITY LITIGATION                                                                             MDL No. 3047



                                       (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO í20)



On October 6, 2022, the Panel transferred 20 civil action(s) to the United States District Court for the
Northern District of California for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See 637 F.Supp.3d 1377 (J.P.M.L. 2022). Since that time, 110 additional action(s) have been
transferred to the Northern District of California. With the consent of that court, all such actions have been
assigned to the Honorable Yvonne Gonzalez Rogers.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Northern District of California and assigned to Judge Rogers.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of
California for the reasons stated in the order of October 6, 2022, and, with the consent of that court, assigned
to the Honorable Yvonne Gonzalez Rogers.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Northern District of California. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7íday
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:


   Nov 06, 2023
                                                           Tiffaney D. Pete
                                                           Clerk of the Panel
    Case 4:22-md-03047-YGR Document 409 Filed 11/06/23 Page 2 of 2
         Case MDL No. 3047 Document 306 Filed 11/06/23 Page 2 of 2




IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY PRODUCTS
LIABILITY LITIGATION                                                           MDL No. 3047



                     SCHEDULE CTOí20 í TAGíALONG ACTIONS



  DIST       DIV.      C.A.NO.     CASE CAPTION


INDIANA NORTHERN

                                   PenníHarrisíMadison School Corporation v. Meta
  INN         3       23í00917     Platforms, Inc. et al

MARYLAND

                                   Frederick County Board of Education v. Meta Platforms, Inc.
  MD          1       23í02792     et al
